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6                         UNITED STATES DISTRICT COURT
7                        EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES,                        No. 2:09-cr-00321-MCE
10             Plaintiff,
11        v.                               ORDER REGARDING SENTENCING
                                           MEMORANDA
12   MICHAEL DAVES,
13             Defendant.
     ____________________________/
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          If any party wishes to file a sentencing memorandum in
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     advance of imposition of judgment and sentencing, said
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     memorandum shall be filed on or before 5:00 p.m., seven (7)
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     calendar days in advance of the date set for judgment and
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     sentencing.      Any response thereto shall be filed on or
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     before 3:00 p.m., (3) calendar days in advance of the date
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     set for judgment and sentencing.         The parties are cautioned
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     that if any sentencing memoranda is filed late, the judgment
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     and sentencing date may be vacated and the matter continued.
23
          IT IS SO ORDERED.
24
     Dated: September 7, 2010
25
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                                      _____________________________
27                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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